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THE ESTA'I'E OF ]AMES FRANLINPERRY,
by BE THE A. RODGERS, Special Adminisuacor, COMPLAINT
and
JAMES FRANKLlN PERRY]R (A Mjnor)
Plain ' Case No.

S»

V.
CHERYL WENZEL, RN.; DEPUTY KIG{BUS_H; NIOOLE
VIRGO, R.N.; TINA WA'I'IS, RN.; SERGEANT
FATRENA HALE; SHERRIFF DA_VID A. CLARK; KELLY
KIE CKBUSCH; ABIE DOUGLAS; ANTHONY ARNDT;
SI-IEILA ]EFF; DARIUS I-IOLMES; RICI-L¢\RD E.
SCI-IMDIT;

MILWAUKEE OOUN'I'Y SHERRIFF’S DEPAR'IMENT
821 Scate Sueer
Milwaukee, WI 53233;

and

RICHARD LOPEZ; FRANK SALINSKY; STEPHON BELL;
MARGARITA DIAZ-BERG; ALEXANDER C AYALA;
FROILAN SAN'IIAGO; KARL ROBBINS; CRYSTAL
]ACKS; COREY KROES; RICK BUNGERT; LUKE LEE;
]ACOB IVY; SHANNON D. ]ONES; RICHARD MENZEL;
EDWARD FLYNN; ROMAN GALAVIZ; VICTOR E.
BEECI`IER

MILWAUKEE POLICE DEPAR'IMENT

Police Administration Building

749 West State Street, P.O. Box 531

Milwaukee, \V[ 53201-0531

and

'IHE CITY OF MILWAUKEE, a municipal corporation
Cicy Hall

200 East Wells St.

l\/leaukee, WI 53202,

and
MILWAUKEE COUNTY, a nnmicipal corporation

901 N. 9‘*' Su~¢er, Room 306

leaukee, WI 53223
Defenclants.

NOW COMES the above named plaintiffs, the Estace of ]ames Franklin Peny, and ]ames

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Frank]in Perry]r. (a minor), by their attorneys, GENDE LAW OFFICE, S.C., and as for their claims
for relief against the above named defendants, allege and shows the Courc as follows:

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I. INTRODUCTION

1. "[his case involves the City of Milvsmukee Police Department ("MPD") and the
Milwaukee County Sherriff’s Department’s ("MCBD") methods of infringing on and violating the
Constitutional and statutory rights of ]ames Franklin Peny ("Peny’), causing his death. Peny died
on the floor of the Milwaul<ee County ]ail after the defendants named herein acted with deliberate
indifference to his serious-acute-obvious medical condition by ignoring Perry, leaving him
unattended and unassisted on the floor - despite the fact that Perrywas gasping for breath, rolling
back and forth, meaning and groaning in pain, and bleeding from the mouth. All the while, Perry
was shackled and wearing a spit mask.

2. Perry was in serious-acute-obvious physical distress at the Po]ice Administration
Building, but he was offered no assistance, medical or otherwise. He had a spit mask placed over his
face, was held on the floor by several defendants, and then was dropped in a cell where he condoned
to suffer and inch closer to death. On September 13, 2010, Defendants named herein removed
Perry from a holding cell at the Po]ice Administration Building, and despite his serious-acute-
obvious medical condition offered him no assistance, medical or otherwise, but instead transported
Perry to the Milwaukee County ]ail - where he was left on the floor. Despite his verbalized
suffering, bleeding and having defecated himself, no member of the MCSD or the MPD offered
Perry any assistance. Perry was left on the floor to die while MCSD and MPD personnel
(Defendants named hemin) simply walked away - one of which was playing solitaire on her
computer. . l

3. Plaintiffs- bring this action pursuant to Wrs. Stat. § 895.03; Trtle 42 of the United
States Code, Sections 1983 851985 for violations of the Perry's Eighth and Fourteenth Amend.ment
rights under the United States Constitution and his rights under Article I, Sections One and Six, of

the Wisconsin Constitution.

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_ 11. JURIS`DICTION

4. This Court has subject matter jurisdiction over both the Federal and State Law
Claims alleged herein.

III. VENUE

5. Venue is proper in this judicial district pursuant to Wis. Stat. § 801.50(2) because
most defendants reside in this district and because a substantial part of the events and omissions
giving rise to the plaintiffs" claims occurred in the district

` rv. THE PARTIES

6. The plaintiff, the Estate of ]ames Franklin Perry represents the decedent ]am`es
Franklin Perry, who serious-acute-obvious medical needs were neglected while he was in the custody
of MPD/MCSD and therefore expired on the floor of the Milwaukee County]ail.

7. Bettie A. Rodgers is the administrator of the Estate of ]ames Franklin Perry with
standing to bring this action on behalf of the Estate of ]ames Franklin. Perry pursuant to Wisconsin
Statute and Milwaul<ee County Case N0:2010PR002059.

8. ’Ihe plaintiff, ]ames Franklin Perry]r., is the minor child of ]ames Franklin Perry and
is a citizen of the United States and a resident of the State of Wisconsin.

9. Defendant, Cheryl Wenzel, R.N. ("Defendant R.N. Wenzel") is an adult citizen of
the United States and a resident of the State of Wrsconsin, and at all times material hereto, was
employed bythe M(BD as a Registered Nurse and was responsible for the safe, secure, and humane
treatment of all inmates at the Milwaukee County]ail, including Perry, on the evening of September
13, 2010. Defendant R.N. Wenzel was aware of and observed Perry`s serious-acute-obvious medical
emergency, but took no action, medical or otherwise; to assist Peny until Perry had stop breathing
and lay dead on the floor of the Coun-ty ]ail. Defendant Wenzel was deliberately indifferent to

Perry’ s serious-acute-obvious medical needs and Constitutional Rights.

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10. Defendant, Deputy Kickbush ("Defendant Kickbush") is an adult citizen of the
United States and a' resident of the State of Wisconsin, and at all times material hereto, was
employed by the M(BD and was responsible for the safe, secure, and humane treatment of all
inmates at the Milwaukee Gounty ]ail, including Perry, on the evening of September 13, 2010.
Defendant Kickbush was in the pre-booking area of the Gounty]ail when Penywas brought in and
participated in carrying Perry into the pre-booking area and around the pre-booking area, but
provided no assistance, medial or otherwise to Perry, despite Penys serious-acute medical
emergency and was deliberately indifferent to Perry’s serious medical needs and Constitutional
Rights.

11. Defendant, Nicole Virgo, R.N. ("Defendant R.N. Virgo“) is an adult citizen of the
United States and a resident of the State of Wrsconsin, and at all times material hereto, Was
employed by theMCSD as a R.N, and was responsible for the safe, secure, and humane treatment of
all inmates at the Milwaukee Gounty ]ail, including Perry,v on the evening of September 13, 2010.v
Defendant R.N. Vrrgo was the first medical personal to observe Perry at the Gounty]ail land simply
walked away after thirty seconds and provided no assistance, medical or otherwise, to Perry despite
Perry’s serious-acute-obvious medical emergency and was deliberately indifferent to Perry’s serious
medical needs and Constitutional Rights.

12. Defendant, Tina Watts, R.N. ("Defendant R.N. Watts”) is an adult citizen of the
United States and a resident of the State of Wrsconsin, and at all times material hereto, was
employed by the l\/I(BD and was the shift nurse supervisor on September 13, 2010 and was
responsible for the safe, secure, and humane treatment of all inmates at the Milwaukee County]ail, '
including Perry, on the evening of September 13, 2010. Defenth R.N. Watts failed to properly
train and supervise Defendant RN. Virgo and Defendant R.N. Wenzel prior to and on September

13, 2010, and was deliberately indifferent to Perry’s serious medical needs and Constitutional Rights.

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13. Defendant, Sergeant Fatrena Hale ("Defendant Hale") is an adult citizen of the
United States and a resident of the State of Wisconsin, and at all times material hereto, was
employed by the M(BD and was responsible for the safe, secure, and humane treatment of all
inmates at the Milwaukee County ]ail, including Perry, on the evening of September 13, 2010.
Defendant Hale was the Sergeant on duty when Perrywas brought in to the pre-booking area of the
County jail and despite the fact that Defendant Hale observed Perry rolling around on the floor
groaning and could see Perry bleeding through the spit mask Defendant Hale provided no
assistance, medical or otherwise, nor ordered her staff to provide any assistance to Perry and was
deliberately indifferent to Perry’s serious medical needs and Constitutional Rights.

14. Defendant, Sherriff David A Clark ("Defendant Clark") is an adult citizen of the
United States and a resident of the State of Wrsconsin, and at all times material hereto, was the
Sheriff of the MCSD and was responsible for the safe, secure, and humane treatment of all inmates
at the Milwaukee County ]ail, including Perry, on the evening of September 13, 2010. Defendant
Clark, also oversaw supervised and had direct control over the management and operations of the_
entire Sheriff’s Department, including the Milwaukee County ]ail, and was responsible for the
Department's policies and procedures as well as trai.ning. Defendant Clark was deliberately
indifferent to the serious medical needs and Constitutional rights of Perry by allowing a lack of
sufficient training and policies and procedures, written and unwritten, to place Perry, and other
inmates in grave danger when they were suffering from serious-acute-obvious medical conditions. l

15. Defendant, Kelly K.ieckbusch ("Defendant Kirckbusc_h"), is an adult citizen of the
United States and a resident of the State of Wisconsin, and at all times material hereto, was
employed by the M(BD and was responsible for the safe, secure, and humane treatment of all
inmates, at the Milwaukee County jail including Perry, on the evening of September, 13, 2010. l

Defendant Kieckbusch was assigned to coordinate medical treatment on the evening of September

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13, 2010, but failed to provide Perry any attention, medical or otherwise, despite his serious-acute-
obvious medical emergency and was deliberately indifferent to Perry’s serious medical needs and
Constitutional Rights.

16. Defendant, Conectional Officer Abie Douglas (“Defendant Douglas”), is an adult
citizen of the United States and a resident of the State of Wisconsin, and at all times material hereto,
was employed by the M(BD and was responsible for the safe, secure, and humane treatment of all
inmates, at the Milwaukee County ]ail including Perry, on the evening of September, 13, 2010.
Defendant Douglas was aware and observed Perry’s serious-acute-obvious medical emergency, but
failed to provide Perry any attention, medical or otherwise, despite his serious-acute~obvious-
medical emergency and was deliberately indifferent to Perry’s serious medical needs and
Constitutional Rights.

17. Defendant, Cor‘rectional Officer Anthony Amdt (“Defendant Amdt”), is an adult
citizen of the United States and a resident of the State of Wrsconsin, and at all times material hereto,
was employed by the MCSD and was responsible for the safe, secure, and humane treatment of all
inmates, at the Milwaukee County ]ail including Perry, on the evening of September 13, 2010.
Defendant Amdt was aware and observed Perry’s serious-acute-obvious medical emergency, but
failed to provide Perry any attention, medical or otherwise, despite his serious-acute-obvious medical
emergency and was deliberately indifferent to Perry’s serious medical needs and Constitutional
Rights. l

18. Defendant, Correctional Officer Sheila jeff (“Defendant ]eff”), is an adult citizen of
the United States and a resident of the State of Wrsconsin, and at all times material hereto, was l
employed by the MCSD and was responsible for the safe, secure, and humane treatment of all
inmates, at the Milwaukee County ]ail including Perry, on the evening of September, 13, 2010.'

Defendant ]eff was aware and observed Perry’s serious-acute-obvious medical emergency, but failed

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to provide Perry any attention, medical or otherwise, despite his serious-acute-obvious medical
emergency and was deliberately indifferent to Penys serious medical needs and Constitutional
Rights.

19. Defendant, Correctional Officer Darius Holmes (“Defendant Holmes”), is an adult
citizen of the United States and a resident of the State of Wisconsin, and at all times material hereto,
was employed by the MCBD and was responsible for the safe, secure, and humane treatment of all
inmates, at the Milwaukee County ]ail including Perry, on the evening of September, 13, 2010.
Defendant Holmes was aware and observed Perry’s serious-acute-obvious medical emeregemcy, but
failed to provide Perry any attention, medical or otherwise, despite his serious-acute-obvious medical
emergency and was deliberately indifferent to Perry’s serious medical needs and Constitutional
Rights.

20. Defendant, Richard Lopez, (“Defendant Lopez"), 'n an adult citizen of the United
States and a resident of the State of Wisconsin, and at all times material hereto, was employed by the
MPD and was responsible for the safe, secure, and humane treatment of individuals in the custody
of the MPD, including Perry, on the evening of September 13, 2010. Defendant Lopez transferred
Perry from the Police Administration building to the floor of the Milwaukee County jail, but ignored
and was deliberately indifferent to Perry’s serious-acute-obvious medical emergency as Perry lay
dying on the floor of the Milwaukee County ]ail, and was deliberately indifferent to Perrys serious
medical needs and Constitutional Rights.

21. Defendant, Frank Salinsky (“Defendant Salinsky"), is an adult citizen of the United
States and a resident of the State of Wisconsin, and at all times material hereto, was employed by the
MPD and was responsible for the safe, secure, and humane treatment of individuals in the custody
of the MPD, including Perry, on the evening of September 13, 2010. Defendant Salinsky transferred
Perry from the Police Adrninistration building to the floor of the Milwaukee COmeYlG-il, but ignored

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and was deliberately indifferent to Perry’s serious-acute-obvious medical emergency as Perry lay
dying on the floor of the Milwaukee County]ail, and was deliberately indifferent to Perry’s serious
medical needs and Constitutional Rights.

22. Defendant, Stephon Bell ("Defendant Bell"), is an adult citizen of the United States
and a resident of the State of Wisconsin, and at all times material hereto, was employed by the MPD
and was responsible for the safe, secure, and humane treatment of all individuals in the custody of
the MPD, including Perry, on the evening of September 13, 2010. Defendant Bell was assigned to
sit in the processing section of the Milwaukee County ]ail and assist officers conveying inmates.
Defendant Bell participated in the carrying of Perry into the processing section of the County]ail,
but simply walked away and ignored and was deliberately indifferent to Perry’s serious-obvious-acute
medical emergency Bell also participated in an attempt to cover up the actual facts surrounding
Perry’s death and was deliberately indifferent to Perry’s serious medical needs and Constitutional
Rights.

23. Defendant, Margarita Diaz-Berg ("Defendant Diaz-Berg"), is an adult citizen of the
United States and a resident of the State of Wisconsin, and at all times material hereto, was
employed by the MPD and was responsible for the safe, secure, and humane treatment of all
individuals in the custody of the MPD, including Perry, on the evening of September 13, 2010.
Defendant Diaz-Berg was the assistant jailer on the night of September 13, 2010 responsible for

conducting fifteen minute checks on Perry while he was placed in the Prisoner Processing Section at

the Police Administiation building and despite Pen'y’s bleeding, groans, giunts, and rolling around

on the floor, Diaz Berg provided no assistance to Perry, medical of otherwise, and was deliberately
indifferent to Perry’s serious medical needs and Constitutional Rights.

24. Defendant, Alexander C. Ayala ("Defendant Ayala"), is an adult citizen of the United

States and a resident of the State of Wisconsin, and at all times material hereto, was employed bythe .

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MPD and was responsible for the safe, secure, and humane treatment of all individuals in the
custody of the MPD, including Perry, on the evening of September 13, 2010. Defendant Ayala was
assigned to the Prisoner Processing Section of the Police Administration Builidng on September 13,
2010 and assisted in holding Perry down in the hallway of the Prisoner Processing Section while
Perry groaned and screamed in pain - Ayala provided no assistance, medical or otherwise, despite .
Perry’s serious-acute~obvious medical emergency and was deliberately indifferent to Perry’s serious
medical needs and Constitutional Rights. y

25. Defendant, Froilan Santiago ("Defendant Santiago"), is an adult citizen of the United
States and a resident of the State of Wisconsin, and at all times material hereto, was employed by the
MPD and was responsible for the safe, secure, and humane treatment of all individuals in the
custody of the MPD, including Perry, on the evening of September 13, 2010. Defendant Santiago
observed the Perry had uiinated and defecated himself on return from Sinai, but instead of offering
or requesting medical attention for Perry, he proceeded to carry Perry to the elevator to be taken
upstairs. Defendant Santiago was assigned to the Prisoner Processing Section of the Police
Administration Building on September 13, 2010 and assisted in holding Perry down in the hallway of
the Prisoner Processing Section while Perry groaned and screamed in pain - Santiago provided no
assistance, medical or otherwise, despite Perry’s serious-acute-obvious medical emergency and was
deliberately indifferent to Perry’s serious medical needs and Constitutional Rights.

‘ 26. Defendant, Karl Robbins ("Defendant Robbins“), is an adult citizen of the United
States and a resident of the State of Wisconsin, and at all times material hereto, was employed by the
MPD and was responsible for the safe, secure, and humane treatment of all individuals in the
custody of the MPD, including Perry, on the evening of September 13, 2010. Defendant Robbins ‘
was the presiding officer in the Police Processing Section at Police Administration Building at the

time of the unconstitutional treatment of Perry and therefore had supervisory control over the

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officers/ defendants on duty. Additionally Defendant Robbins was informed that Perry was not
doing well at Sania, but instructed his officers to return Perryto the Police Administration Building,
but took no action to assure Perr)?s serious-acute-obvious medical emergency was monitored
Defendant Robbins was told by Perry on the aftemoon of September 13, 2010 that Perry has
seizures and had not been taking his medication for this condition; Defendant Robbins took no
action in regard to this information Defendant Robbins was deliberately indifferent to Perry‘s
serious medical needs and Constitutional Rights.

27. Defendant, Crystal ]acks ("Defendant ]acks"), is an adult citizen of the United States
and a resident of the State of Wisconsin, and at all times material hereto, was employed bythe MPD
and was responsible for the safe, secure, and humane treatment of all individuals in the custody of
the MPD, including Perry, on the evening of September 13, 2010. Defendant ]acks assisted in
carrying Perry to the Prisoner Processing Section of the Police Administration Building, holding him
down on the floor, applying a spit mask, and dropping Perry on the floor of a holding cell, While
providing no assistance, medical or other, despite Perry’s serious-acute-obvious medical emergency
Defendant lacks was deh'berately indifferent to Perry‘s serious medical needs and Constitutional
Rights. f

28. Defendant, Corey Kroes ("Defendant Kroes"), is an adult citizen of the United
States and a resident of the State of Wisconsin, and at all times material hereto, was employed by the
MPD and was responsible for the safe, secure, and humane treatment of all individuals in the
custody of the MPD, including Perry, on the evening of September, 2010. Defendant Kroes assisted
in carrying Perry to the Prisoner Processing Section of the Police Administration Building, holding
him down on the floor, applying a spit mask, and dropping Perry on the floor of a holding cell,

while providing no assistance, medical or other, despite Perry’s serious-acute~obvious medical

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emergency. Defendant Kroes was deliberately indifferent to Perry’s serious medical needs and
Constitutional Rights.

29. Defendant, Rick Bungert ("Defendant Bungert"), is an adult citizen of the United
States and a resident of the State of Wisconsin, and at all times material hereto, was employed by the
MPD and was responsible for the safe, secure, and humane treatment of all individuals in the
custody of the MPD, including Perry, on the evening of September 13, 2010. Defendant Bungert
observed that Perry had urinated and defecated himself on his return from Sinai, but instead of
offering or requesting medical attention for Perry, he proceeded to carry Perry to the elevator to be
taken upstairs. Defendant Bungert was assigned to the Prisoner Processing Section at the Police
Adrriin'ntration Building on September 13, 2010 and assisted in holding Perry down in the hallway of
the Piisoner Processing Section while Perry groaned and screamed in pain - Defendant Bungert
provided rio assistance, medical or otherwise, despite Perry’s serious-acute~obvious medical
emergency and was deliberately indifferent to Perry’s serious medical needs and Constitutional
Rights.

30. Defendant, Luke Lee ("Defendant Lee"), is an adult citizen of the United States and
a resident of the State of \Visconsin, and at all times material hereto, was employed by the MPD and
was responsible for the safe, secure, and humane treatment of all individuals in the custody of the
MPD, including Perry, on the evening of September 13, 2010. Defendant lee was assigned to the
Prisoner Processing Section at the Police Administration Building on September 13, 2010 and
assisted in holding Perry down in the hallway of the Prisoner Processing Section while Perry groaned
and screamed in pain - Defendant Lee provided no assistance, medical or otherwise, despite Perry’s
serious-acute-obvious medical emergency and was deliberately indifferent to Perry’s serious medical

needs and Constitutional Rights.

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31. Defendant Police Aide ]acob Ivy (“Defendant Iv}F’), is an adult citizen of the United
lStates and a resident of the State of Wisconsin, and at all times material hereto, was employed by the
MPD and was responsible for the safe, secure, and humane treatment of all individuals in the
custody of the MPD, including Perry, on the evening of September 13, 2010. Defendant Ivy
assisted in removing Perry from his cell at the Prisoner Processing Section at the Police
Administration Building, Defendant Ivy provided no assistance, medical or otherwise, despite
Perry’s serious-acute-obvious medical emergency and was deliberately indifferent to Perry’s serious
medical needs and Constitutional Rights.

32. Defendant, Shannon D. ]ones ("Defendant ]ones"), is an adult citizen of the United
States and a resident of the State of Wisconsin, and at all times material hereto, was employed by the
MPD and was responsible for the safe, secure, and humane treatment of all inmates, including Perry,
on the evening of September, 13 2010. Defendant ]ones engaged in the defendants’ concerted
attempt to cover up the true circumstances surrounding Pen}/s death; thereby violating Perry/s
Constitutional Rights.

33. Defendant, Richard Menzel ("Defendant Menzel"), is an adult citizen of the United
States and a resident of the State of Wisconsiri, and at all times material hereto, was employed at
MPD and was responsible for the safe, secure, and humane treatment of all inmates, including
Perry, on the evening of September, 2010. Defendant Menzel engaged in the defendants’ concerted
attempt to cover up the true circumstances surrounding Perry’s death; thereby violating Perry’s
Constitutional Rights.

34. Defendant, Cliief of Police Edward Flynn ("Defendant Flynn"), is an adult citizen of
the United States and a resident of the State of Wisconsin, and at all times material hereto, was the
Chief of the MPD, and was responsible for the safe, secure, and humane treatment of all individuals

in the custody of the MPD, including Perry, on the evening of September 13, 2010. Defendant-

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Flynn, also oversaw supervised and had direct control over the management and operations of the
entire MPD, including the Police Administration Building, and was responsible for the Department's
policies and procedures as well as training. Defendant Flynn was deliberately indifferent to the
serious medical needs and Constitutional rights of Perry by allowing a lack of sufficient training and
policies and procedures, written and unwritten, to place Perry, and other inmates in grave danger
when they were suffering from serious-acute-obvious medical emergencies.

35. Defendant, Deputy Inspector of Police - Professional Standards Bureau, Ronian
Galaviz ("Defendant Galaviz"), is an adult citizen of the United States and a resident of the State of
Wisconsin, and at all times material hereto, was employed by the MPD, and was responsrble for the
safe, secure, and humane treatment of all individuals in the custody of the MPD, including Perry, on
the evening of September 13, 2010. Defendant Galaviz, also oversaw supervised and had direct
control over the professional standards of the entire MPD, and was responsible for the
Department's policies and procedures as well as training Defendant Galaviz was deliberately
indifferent`to the serious medical needs and Constitutional rights of Perry by allowing a lack of
sufficient training and policies and procedures, written and unwritten, to place Perry, and other
inmates in grave danger when they were suffering from serious-acute-obvious medical emergencies.

36. Defendant, Captain of Police - Training Division, Victor E. Beecher ("Defendant
Beecher"), is an adult citizen of the United States and a resident of the State of Wisconsin, and at all
times material hereto, was employed by the MPD, and was responslble for the safe, secure, and
humane treatment of all individuals in the custody of the MPD, including Perry, on the evening of
September v13, 2010. Defendant Beecher, also oversaw supervised and had direct control over the
training of the entire MPD, and was responsible for the Department's policies and procedures as
well as training. Defendant Beecher was deliberately indifferent to the serious medical needs and

Constitutional rights of Perry by allowing a lack of sufficient training and policies and procedures,

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written and unwritten, to place Perry, and other inmates in grave danger when they were suffering
from serious-acute-obvious medical emergencies.

37. Defendant, Inspector Richard Schmidt ("Defendant Schmidt") is an adult citizen of
the United States and a resident of the State of Wisconsin, and at all times material hereto, was
employed by the MCSD and was responsible for the safe, secure, and humane treatment of all
inmates at the Milwaukee County ]ail, including Perry, on the evening of September 13, 2010.
Defendant Schmidt is currently leading the Detention Services Bureau, which includes oversight of
the medical, clerical correctional officers, and sworn staff assigned to the Milwaukee County ]aiL
Defendant Schmidt also oversaw supervised and had control over the management and an operation
of the entire Sheriff’s Department, and was responsible for the Department's policies and
procedures as well as training Defendant Schmidt was deliberately indifferent to the serious
medical needs and Constitutional rights of Perry by allowing a lack of sufficient training and policies
and procedures, written and unwritten, to place Perry, and other inmates in grave danger when they
were suffering from serious-acute-obvious medical emergencies.

38. Defendant, the City of Milwaukee, with offices at 200 East Wells St. Milwaukee, WIv
53202, and offices of its Corporate Counsel, Grant F. Langley, at 200 East Wells Street, 800 City
Hall, Milwaukee, WI 53202-3653, at all times material hereto, was a Municipal Corporation
organized under the laws of the State of Wisconsin and was at all times responsible for training and
supervising the employees of the MPD, and for the creation and implementation of policy and
procedures for the MPD - an agent of the City of Milwaukee.

39. Defendant, Milwaukee County, with offices of its executive at 901 N. 9ch Street,
Room 306, Milwaukee, Wl 53233, and offices of its Corporate Counsel, Kimberly Walker, located at
907 North 9‘]‘ Street, Suite 303, Milwaukee, WI 53233, at all times material hereto, was a Municipal -

Corporation organized under the laws of the State of Wrsconsin and was at all times responslble for

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training and supervising the employees of the MCSD, and for the creation and implementation of
policy and procedures of the MCSD - an agent of the City of Milwaukee.

40. All of the defendants are sued in their individual and official capacities. At all
relevant times, these defendants were acting under the color of state law; pursuant to their authority
as officials, agents, contractors or employees of the State of Wisconsin; within the scope of their
employment as representatives of public entities, as defined in 42 U.S.C. §12131(1), and were
deliberately indifferent to the Constitutional, civil, and statutory rights of Miller.

V. FACTS

PERRY’§ FIRST SElZURE AT THE PQLICE A.DMINI§TION BUILDINQ

41. That on September 13, 2010, Perry was in the custody of the MPD at the Police
Adnrinisuation Building in the bullpen when Perry tried to stand, but fell back against the wall and
went limp. “He had a blank stare for about five seconds.” Perry then fell to the floor striking his
head “hard” orr the concrete floor, at which point he began shaking. Prior to this time, Perry had
informed the MPD and its employees that he required seizure medication twice a day. Perry never
received this medication while in custody.

42. That the Milwaukee Fire Department - EMS was contacted five minutes after the
onset of Perry’s Seizure. l

43. 'Ihat Milwaukee Fire Department personal recorded, “Upon arrival found 41 year
old [Peny] lying supine on the floor of holding cell with cushion placed under his head. Per police,
patient had suffered approximately one minute long full body seizuce, fell off bench and hit

head on the iloor.”
44. That Perry was transferred via ambulance to Aurora Sinai by Bell Ambulance.
Defendant Kroes rode in the ambulance with Perry, when Defendant Kroes attempted to speak to

Perry- Perry said nothing and was not fully alert.

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45. When at the hospital Defendant Kroes observed, “Perry seemed like he was trying to
say something. But he stopped talking midsentence.” Defendant Kroes explained ‘[Perry] froze,
like a statute, for about 10 seconds. Then his eyelids began twitching. . . . [Perry] went into a full
body seizure, 4

46. The seizure, referenced in 1[41, lasted five minutes.

47. After the seizure referenced in 1[41 Perry’s breathing was shallow and fast Perrywas
mumbling, but Defendant Kroes could not understand him.

48. That subsequent to the seizure referenced in '[41 Perry suffered a second seizure.

49. Perry asked to use the bathroom, he seemed very tired. According to Defendant
Kroes Perry had a much more difficult time walking to the bathroom; he was struggling to keep his
balance.

50. When it was time to leave Sinai, Defendant Kroes and J'acks attempted to wake
Perry, but he kept falling back asleep. Defendant Kroes put on Perry’s shoes and she and
Defendant lacks tried to bear all of Perry’s weight, but Perry just mumbled and occasionally
screamed

51. That Perry was wheeled to a squad car, at which time Defendant Kroes observed
that Perrywas weak

PERRY’S RETURN TO THE POLICE ADMINISTRATION BUILDING

52. Prior to Perry’s return from Sinai, Defendants assigned to the Police Administration-
Building were made aware that Perrywas on a medical run and would be retuming.

53. That when Defendants Kroes and J'acks arrived at the Police Administration
Building they were greeted by Defendants Santiago and Bungert, and which time Defendants Kroes

and J'acks informed Defendant Santiago that Perrywas not being cooperative.

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54. That after ten to fifteen mirlutes of waiting in the garage of the Police Administration
Building Defendants Kroes and lacks decided that they were going to take Perry up to the Prisoner
Processing Section because they did not have Penys paperwork

55. That when Perry was taken out of the squad car he could not walk

56. That Perry was carried from the squad car to elevator, Defendant Santiago was
holding Perry/s legs up by the shackles and Defendants Kroes, ]acks, and Bungert held Perry up by
his arms.

57. 'I'hat as Perry was carried from the squad car to the elevator it was observed by the
Defendants Kroes, ]acks, Santiago, and Bungert that Perryhad urinated and defecated on himself.

58. At 6:50 p.rn. Perrywas dragged by officers/ defendants into the elevator and placed
on the floor - officers were required to hold up Perry’s head and support him with their knees to
assure that he did not fall backward. When the elevator stopped all four officers/ defendants present
were needed to carry Perry out of the elevator. Perrywas offered no medical assistance at this point,
despite his serious-acute-obvious medical emergency

59. That Defendants Kroes, ]acks, Santiago, and Bungert dragged Perry out of the

elevator and deposited him on the floor in the hallway of the Prisoner Processing Section where-

Perry remained for the next fifteen minutes, groaning and shouting in pain, waning in and out of
consciousnessl Several officers/ defendants held him on the ground and placed a spit mask over his
face, despite Perry’s serious-obvious-acute medical emergency. Perry was offered no assistancei
medical or otherwise, while he lay dying right in front of the defendants’ eyes.

60. That while Perry lay on the floor in serious-acute-obvious medical distress
Defendant Bungert placed him in a compression hold.

61. l That while being held on the floor Perry urinated on himself

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62. That officers inexplicably continued to hold Perry on the ground with a spit mask in
place despite his serious-acute~obvious physical distress and screams of pain, “Perrywas conscious
and breathing but was somewhat incoherent in his actions.” Perry received no medical assistance at
this point. l

63. Defendant Diaz-Berg was playing solitaire orr her computer while she was supposed
to be searching for Perry’s paperwork during the time period he was dying in MPD’s custody.

64. That Defendant Robbins observed this entire scene, but took no action to assist
Perry or provide him any medical care. Investigators recorded, “Robbins stated he went out to the
booking area hallway and observed the officers With Perry and that Perrywas on the floor by the
bench moaning, having a spit mask over his face, Robbins continued to relate that Perry was
conscience and breathing but somewhat incoherent in his actions. Robbins stated he observed that
Perry had defecated_and urinated on himself as his clothing was soiled and an odor was emitting
from him.”

65. Defendant Robbins attempted to get Pen'}?s paperwork completed as soon as
possible and upon its completion called for a unit to convey Perry to the County]ail, but at no time
did Robbins provide any-care for Perry’s serious-obvious-acute medical emergency.

66. 'Ihat the paperwork required to transport Perry to the County ]ail was allegedly not
in order; therefore, defendants decided to place an obviously distressed, incoherent and dying Perry
in a holding cell. An unconscious Perrywas carried to a cell in a hog-tied position when one of the
officers holding Perry dropped him; thereby, causing Perry/s head to hit the floor from at least two
feet up - leaving copious amounts of blood on the floor. Perry, near death, was still not offered any
medical assistance at this point.

67. That inmate Tyrone Evans observed that once the Defendants: Diaz-Berg; Ayala;

Kroes; ]acks; Lee; Santiago; and Bungert got to the cell door with Perry, the defendant on Perry’s

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right side dropped Perry causing him to fall to floor and hit his face on the floor from approximately
two feet above the ground.

68. That Inmate Henry L. Martin observed, “[Perry] who had the seizure earlier being
held by his feet of the ground by an officer and another officer holding one of [Peny’s] arms.”
` “Martin stated that [Peny’s] head was on the floor of the cell as if he was dropped by the other
officer because no one was holding onto to [Perry’s] other arm.” l

69. Defendants Diaz-Berg, Ayala, Kroes, ]acks, lee, Santiago, and Bungert picked Perry
up off the floor and carried him into a cell and then deposited him on the floor.

70. That Perry was carried to his cell in the Prisoner Processing Section in a ‘hog-tied
position.”

71. That after the Defendants, Diaz-Berg, Ayala, Kroes, ]acks, Lee, Santiago, and
Bungert left Perry on the floor in his cell inmate Tyrone Evans observed blood in front of the cell
where Perrywas dropped and heard Penymoaning.

72. That after Perry was placed in the holding cell he did not speak any audible words
“ just a bunch of mumbling.”

73. Defendants, Diaz-Berg, Ayala, Kroes, ]'acks, Lee, Santiago, and Bungert left Perry in
the cell with the spit mask still over his face,

74. As Perry lay in his cell he was moaning and hanging on the wall, despite this he was
offered, no assistance, medial of otherwise, for his serious-acute-obvious medical emergency. f

75. That as Perry remained dying in the cell for over an hour, moaningand groaning in-
pain, heard by other inmates, he was not provided any assistance, medical or otherwise, despite his
serious-acute-obvious medical emergency.

76. Defendant Diaz-Berg reported she observed Perry every fifteen minutes in this

condition, she observed “Perry was just making gnmting noises and rolled around a bit.” Yet,

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Defendant Diaz-Berg provided Perry no assistance, medical or otherwise, despite Perry’s serious-
acute-obvious medical emergency.

77. 'Ihat approximately 8:20 P.M. Defendants Ayala, Diaz-Berg, Lee, Lopez, Salinsky,
Robhins, and Ivy carrie to remove Perry from his cell, but not one of the aforementioned defendants
offered Perry assistance, medical or otherwise, despite his serious-acute-obvious medical emergency.

78. That Perrywas placed on the floor and cuffed prior to being removed from his cell,
Defendant lopez stated that Perry was not resisting in any manner. Officer Salinsky reported that
he never saw Perry be combative. v

79. That Perry was carried out of the holding cell by his arms and legs, “facedown with
his arms behind his back, legs bent at the knees and feet in the air.” `

80. Defendant Salinsky observed that Perry could not walk, and had defecated himself.
Defendant Salinsky offered no assistance, medical or otherwise to Perry, despite his serious-acute-
obvious medical emergency.

81. As Perrywas carried to the elevator he would, “go limp from time to time.”

82. Defendant lopez reported that that Perrywas walking with wobey legs as if he were
intoxicated, and that Lopez could smell a strong odor of fecal matter emitting from Perry.

83. That officers tightly gripped Perry for fear that he would fall again as an obviously
acutely distressed Perry was moved to the elevator at 8:23 p.m., handcuffed and required officer
assistance to maintain his weight.

84. After Perry was removed from the holding cell at the Prisoner Processing Section of
the Police Administration Building, Defendant Diaz~Berg observed blood in his cell and outside of
his cell door - Defendant Diaz Berg also noted the smell of feces in Perry’s cell.

85. After Perry was removed from the cell, Andrew ]. Puechner, Custodian 2, entered

the cell and observed gobs of spit, blood and fecal matter on the floor.

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PERRRY IS TR.ANSPORTED FROM THE POLICE ADMINISTRATION BUILDING
TO THE COUNTY ]AIL WHERE HE IS TREATED WITH DELIBERATE
INDIFFERNCE UNTIL HE PASSES AWAY ON THE FLOOR

86. That Defendants lopez and Salinsky exited the Police Adrninistration Building, with
Perryin the rear of the conveyance van at 8:34 P.M. on September 13, 2010.

87. That Defendants lopez and Salinsky arrived at the Crirninal ]ustice Facility (“County
_]ail’), with Perry at 8:35 P.M. on September13, 2010.

88. Perrywas transported via police wagon. When he was removed by defendants from
the wagon, fresh blood and feces were left behind Perry was offered no assistance, medical or
otherwise, at this point. y

89. When Defendants Lopez and Salinsky an'ived at the County]ail Defendant Salinsky
entered the pre-booking area to advise the Sherriff’s Department staff of “the situation” with Perry, ,

87. Defendants lopez and Salinsky removed Perry from the conveyance van, Perry
needed assistance to stay upright, and according to Defendant Lopez “appeared to be heavier, and
needed more assistance to walk.” 4

90. That over six minutes passed after Defendants Lopez and Salinsky arrived at the
County Jail, along with Perry, After six minutes Perry was carried into the pre-booking area of the
County]ail and deposited on the floor l

91. Defendant lopez reported that as he and Defendant Salinsky dragged Perry into the
pre-booking area of the County]ail, Perrywas unable to walk or stand; therefore Defendants lopez
and Salinsky placed him on the floor. No assistance, medical or otherwise was provided to Perry for
his serious-acute-obvious medical emergency.

92. 'Ihat MPD Officers Frank Salinsky and Richard Lopez escorted Perry into Pre-
Booking Area of the County _]ail in leg restraints, handcuffed behind his back and wearing a spit

mask. “Blood was seeping from the spit mask.” “[Defendant Hale] went out and observed Perry

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laying on the floor on his back rolling back and forth groaning. Defendant Hale stated that she
could see Perry bleeding through the spit mask.” Perry was offered no assistance, medical or
otherwise, at this point

93. That at 8:41 p.m. Perrywas carried into the Pre-Booking Area of the County ]ail
by several officers from the MPD and the MUD, where he was deposited on the floor. An
obviously distressed Perry remained on the floor schackled with a mask over his face and continued
to roll back and forth, groaning in pain, That after two minutes Perrywas moved by several officers
/ defendants to a concrete bench at which time his soiled pants were around his ankles. A dying
Perry continued to rock back and forth and groan in pain - but Perry was offered no assistance;
medical or otherwise, at this time, despite his serious-acute-obvious medical emergency.

94. That when Perrywas placed on the floor in the Pre-Booking Area of the County]ail
at 8:41 p.m. over ten officers, nurses, and staff, including, but not limited to, Defendants: Lopez;
Salinsky; Bell; Hale; and Kickbush, simply watched Perry rock back and forth and mumble, groan,
and scream in pain, but offered no assistance, medical or otherwise, despite Perry’s serious-obvious-
acute medical emergency.

95. That Defendant Hale went out to the Pre-Booking Area of the County ]a.il and
observed “Perry laying on the floor on his back rolling back and forth groaning.” Defendant Hale
could see Perry bleeding through the spit mask Defendant Hale provided no assistance, nor
ordered anyone to provide assistance, medical or otherwise, to Perry despite Perry’s serious-acute-
obvious medical emergency.

96. At 8:44 P.M., Perrywas picked up by four officers/defendants, including Defendants
Salinsky and Lopez. Perry’s pants were around his ankles, his undergannents were soiled, and he was
doubling over and squealing in pain. In spite of Perry serious-acute-obvious medical emergency

seven individuals/defendants, including, but not limited to Defendants Salinksy, lopez, Bell, and

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Kickbush stood by and offered no assistance to Perry, medical or otherwise, despite Perrys serious-
obvious-acute medical emergency.

97 . At 8:45 p.m., ten minutes after Perry arrived at the County ]ail, and over four
minutes after he was carried in and deposited onto the floor of the Pre-Booking Area, shackled and
wearing a spit mask saturated with blood, R.N. Virgo attempted to assess Perry. “|_'Defendant R.N.
Virgo] asked [Perry] if his name was ]ames Perry, [Perry] nodded yes. During this time [Defendant
R.N. Virgo] asked [Perry] to say his name, and [Perry] did not verbalize Based on Nuero assessment
[Perrfs] inability to verbalize name, seeing blood to spit mask of unknown origin, sailed underpants
(had BM) and recent history of seizure, [Defendant R.N. Virgo] refused [Perry].” (2) Perry was
offered no assistance, medical or otherwise, at this time,

98. On the prescreening Report Defendant R.N. Virgo recorded, “[Perry] bleeding
profitser from mouth, unsure of source as has spit mask on. [Perry] also seems to be having
loose bowels.”

99. That Defendants Salinsky, Bell, and lopez told Defendant R.N. Virgo that Perry had
come from Sinai I-lospita.l. l

100. That Defendant R.N. Virgo attempted to communicate with Perry for thirty seconds
and then simply walked away, offering Perry no assistance, medical or otherwise, despite Perry’s
serious-acute-obvious medical emergency.

101. That as Defendant R.N. Virgo walked away Defendants including, but not limited to:
Salinsky; Lopez; Bell;' and Kickbush walked away from Perry, offering no assistance to Perry,
medical or otherwise, despite Perrys serious-acute-obvious medical emergency.

102. For nearly two minutes after Perry was refused by Defendant R.N. Virgo he
remained on a concrete bench held in place by two Sherriff’s Department officers/ defendants as he

rocked back and forth in pain - dying, groaning, wearing a spit mask saturated with blood and vomit

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while covered in his own urine and feces. Officers then let go of their grip and allowed Perry to
crash onto to the floor where he continued to rock back and forth and groan in pain. Perry was
offered no assistance,`medical or otherwise, at this point.

103. That the defendants walked away and left Perry lying on the concrete floor for nearly
four minutes with no supervision by staff and/ or medical attention, Perrywas shackled, wearing a
spit mask saturated with blood and vomit, his pants were around his ankles and his undergarments
were soiled with his feces and his urine. During this time period Perry rocked and back and forth
meaning and groaning in pain until Perry stopped moving or making any noise at all - either dead or (
close to it. Perrywas offered no medical assistance at this point.

104. rim dung this four idiiiiiie period Defenddne= including but not iiiiiiied w, Lop¢z,
Salinsky; Bell, and Kickbush stood on the other end of the Pre-Booking Area and provided Perry rio
assistance, medical or otherwise, despite Perry serious-acute-obvious medical emergency.

105. 'Ihat at 8:48 P.M. thirteen minutes after Perry arrived at the County Jail, seven
minutes after he was deposited on the floor of the Pre-Booking area, and three minutes after he was
“prescreened” by Defendant R.N. Virgo the Milwaukee Fire Department was informed that there
was an emergency situation and that “[Perry] bleeding from head”

106. At 8:50 p.m. the Milwaukee Fire Department - EMS was “dispatched as Bleeding:'
Uncontrolled/Can’t be stopped” v

107. ]ared Kirnber of the Milwaukee Fire Department Responding Unit E-2 recorded the
chief complaint was, “[Perry not breathing] onset of event occurred five minutes prior to calling
EMS.

108. At approximately 8:51 p.m. befendants Lopez, Salinsky, and Bell lifted Perry’s

lifeless, non-breathing body off the ground and placed him in a seating position.

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109. At Appro)dmately 8:52 p.m., over seventeen minutes after Perry arrived at the
County ]ail, over eleven minutes after Perrywas brought into the Pre-Booking Area of the County
]ail, over six minutes after Perrywas first encountered by nursing staff, and four minutes after Perry
was left unassisted on the floor by himself, Defendant RN Wenzel ask Defendant Bell to remove
the spit mask, which was done. v

110. After the spit mask was taken off Defendant R.N. Wenzel observed- Perry’s head go
back and Perry’s eyes roll back; Perry’s pupils were dilated; Perry did not have a pulse; frothy blood
was coming from Perry’s nose and mouth; and that Perrywas not breathing

111. At 8:53 p.m. Perry’s lifeless body was laid flat on the floor and Perry was finally
offered some minimal medical attention at this point; unfortunately far too late. Perry was
pronounced dead a short time later.

112. That Milwaukee Fire Department - EMS Responding Unit E-2 made initial contact
with Perry at 8:54 P.M.

113. ]ared Kimber of the Milwaukee Fire Department Responding Unit E-Z recorded that
cardiac arrest had occurred prior to Milwaukee Fire Department Responding Unit E-Z’s arrival and
was “Witnessed by Healthcare Provider.”

114. That at 8:54, over eight minutes after Defendant R.N. Virgo first assessed Perry, and
over six mixtures after Perry was left unassisted by himself Milwaukee County J'ail Staff the
Milwaukee County Fire Department Rescue Unit was informed that Perrywas unresponsive.

AFTER PER_RY’S DEATH

115. Detective Paul ]. Forrnolo (“Formolo”) observed the scene of Perry’s death and
noted, “There were also ankle restraints secured to each ankle. I observed that [_'Perry’s] boxer
shorts had light red blood stains around the groin area, and that there was fecal matter inside the

boxers underneath [Penys] buttock and upper thigh areas. The cut white t-shirt also had numerous

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light red blood stains. . . . A blue and black face mask was lying on the floor about 5 feet, southwest
form the victim’s head. I observed light red blood stains on the portion of the mask that covers the
mount and nose.”

116. Formolo observed blood in the transport area of the transport van used to transport
Perry from the Prisoner Processing Section to the Milwaukee County]ail.

117 Identification Technician Scott Kempinski recovered blood from: the driver side
bench; and on the compartrnent’s floor of the transport van used to transport Perry from the
Prisoner Procession Section to the Milwaukee County]ail.

118. Milwaukee County ]ail Nurses, Defendants R.N. Virgo and R.N. Wenzel, later told
Milwaukee Fire Department Medical responder, ]arod Kimber, that they knew Perrywas in trouble
when he arrived, he could not walk or stand, when the spit mask was removed Perrywas bleeding
from his nose and left ear. Despite this knowledge, Defendants R.N. Virgo and R.N. Wenzel failed
to offer Perry any assistance, medial or otherwise, for over ten minutes after his arrival at the jail,
and waited over seven minutes to call for an ambulance, despite Perry’s serious-acute-obvious
medical condition. l

119. That Milwaukee County, and the MCBD including the personnel identified above
violated ]arnes Franklin Perry’s rights as protected by the United States Constitution, 42 U.S.C. §
1983, the Wrsconsin Constitution, and Wisconsin Statutory law by being deliberately indifferent to
the health and welfare of ]ames Franklin Perry and/ or being deliberately indifferent to whether
]ames Franl<lin Perry lived or died and/ or by working in concert to conceal the circumstances of
Perry’s death. n

120. That the City of Milwaukee, the MPD, and the Milwaukee County Sherriff’s
Department, including the personnel identified above violated ]ames Franklin Perry’s rights as

protected by the United States Constitution, 42 U.S.C § 1983, the Wrsconsin Constitution, and

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Wisconsin Statutory law by being deliberately indifferent to the health and welfare of james Franklin
Perry and/ or being deliberately indifferent to whether ]ames Franklin Perry lived or died and/ or by
working in concert to conceal the circumstances of Perry’s death.

121. That the City of Milwaukee, Milwaukee County, the Milwaukee Police Department,
and the Milwaukee County Sherriff’s Department, and the individuals identified above, failed to
properly supervise and train its staff, employees or agents.

VI. VIOLATIONS OF LAW
COUNT ONE - CRUEL AND UNUSUAL PUNISHMENT
IN VIOLATION OF THE EIGTH AND FOURTEENTH AMENDMENTS
TO THE UNITED STATES CONSTITUTION

122. Realleges and incorporates herein by reference the allegations of the preceding
paragraphs-

123. That defendants’ deliberate indifference to and complete failure to address Perry’s
serious-acute-obvious medical emergency was a substantial cause of Perry’s avoidable pain,
suffering, embarrassment and subsequent death.

124. That defendants' policies, practices, acts, and/ or omissions evidence and constitute
deliberate indifference to the serious health care needs of all initiates in their custody, including
Perry, and violate the cruel and unusual punishment clause of the Eight Amendment, made
applicable to the States through the Fourteenth Amendrnent to the Unites States Constitution.

125. That defendants' policies, practices, procedures, acts, and/ or omissions placed Perry
at an unreasonable, continuing and foreseeable risk of substantial pain and suffering and death.

126. That as a proximate result of defendants' unconstitutional policies, piactice`s,
procedures, acts and/ or omissions, Perry unnecessarily suffered physical, psychological and
emotional injury, and eventually lost his life. l

COUNT TWO - CRUEL AND UN`USUAL PUNISHMENT IN VIOLATION OF
SECTION SIX OF THE STATE OF WISCONSIN CONSTITUTION

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127. Realleges and incorporates herein by reference the allegations of the preceding
paragraphs

128. That defendants' policies, practices, procedures, acts, and/ or omissions evidence and
constitute deliberate indifference to the serious health care needs of all inmates in their custody,
including Perry, and violate the cruel and unusual punishment clause of Section Six of the State of
Wisconsin Constitution.

129. That defendants’ policies, practices, procedures, acts, and/ or omissions placed Perry
at an unreasonable, continuing and foreseeable risk of substantial pain and suffering and death.

d 130. 'Ihat as a proximate result of defendants' unconstitutional policies, practices,

procedures, acts and/ or omissions, Perry unnecessarily suffered physical, psychological, and
emotional injury, and eventually lost his life.

COUNT THREE - MONELL LIABILITY

A. failure to Traz`n andAdeguate/y .S`M`i'e
131. Realleges and incorporates herein by reference the allegations of the preceding

Paragraphs- ' v

132. That the defendants failed to adequately train officers, correctional employees, and
medical employees at all times relevant to this complaint, on how to deal with inmates suffering
from serious-acute-obvious medical conditions and individuals in custody in need of immediate
medical care, how to perform life- saving procedures, how to recognize serious medical emergencies,
how to react to serious medical emergencies, and how to conduct wellness checks on individuals in
custody, amongst other failmes.

133. That the failure of the defendants to adequately train and supervise its correctional
employees concerning several key issues such as on how to deal with inmates suffering from serious-

acute-obvious medical emergencies and individuals in custody in need of immediate medical care,~
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how to perform life-saving procedures, how to recognize serious medical emergencies, how to react
to serious medical emergencies, and how to conduct wellness checks on individuals in custody,
demonstrated a deliberate indifference on the part of these defendants as whether the failure to
adequately train and supervise it correctional employees would result in the violation of the
Constitutional, Civil, and Statutory Rights, of individuals entrusted to their care, such as Perry.

134. That the above mentioned failure to adequately train and supervise correctional
employees was a direct and proximate cause of the violations of the Constitutional, Civil, and
Statutory Rights of Perry.

135. That the above mentioned failure to adequately train and supervise correctional
employees, and the acts and omissions of these defendants, was a direct and proximate cause of
injuries, damages, and eventual death suffered by Perry,

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0 edica ca to t e.rei ate z` th are.ru e 'n serious medical m dilian.

136. Realleges and incorporates herein by reference the allegations of the preceding
paragraphs

137. ’Ihat the actions of the defendants, correctional employees, law enforcement
employees, and medical staff including ignoring individuals in custody with serious-acute-obvious
medical emergencies and simply calling for an ambulance or relying on the fact that the individual
had earlier visited a hospital, but taking no action to assist the individual medically or otherwise
were done in accordance with the defendants’ de facto policy regulation, decision or custom
condoning the use of these procedures to deal with inmates suffering from serious-acute-medical
emergencies. That these de facto policies were officially adopted, expressly, or implicitly, and
promulgated or practiced by the defendants even though such custom may riot have received written
formal approval bythe defendants, and even though such de facto policies were inconsistent with or

violated written p0 licies.

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138. That this official or de facto policy and/ or custom of ignoring individuals in custody
with serious-acute-obvious medical emergencies and simply calling for an ambulance or relying on
the fact that the individual had earlier visited a hospital, but taking no action to assist the individual
medically or otherwise, violated Perry’s Constitutional Civil, and Statutory Rights and permitted,
encouraged, tolerated or ratified the actions of the defendants, MPD Staff, and MCSD staff, all in a
malicious or reckless disregard or with deliberate indifference regarding the Constitutional Civil, and
Statutory Rights of Perry,

139. That the above mentioned official or de facto policy and/ or custom of ignoring
individuals in custody with serious-acute-obvious medical emergencies and simply calling for an
ambulance or relying on the fact that the individual had earlier visited a hospital, but taking no
action to assist the individual, medically or otherwise violated Perry’s Constitutional Civil, or
Statutory Rights, which arose or were allowed to continue as a result of, among other things, the
following acts and omissions of the defendants: failing to adequately train, supervise and control its
employees; failing to provide adequate training on how to deal with serious-acute-obvious medical
emergencies; failing to fill the position of medical director and/ or medical coordinator; allowing a
correctional attitude - which allowed MPD staff and MCSD staff to avoid dealing with serious--
acute-obvious medical emergencies, and allowed untrained correctional officers to simply ignore,
serious-acute-obvious medical emergencies.

140. That the widespread practice of, ignoring individuals in custody with serious-acute
obvious medical emergencies and simply calling for an ambulance or relying on the fact that the
individual had earlier visited a hospital, but taking no action to assist the individual medically or
otherwise amongst other things, and/ or violating individuals Constitutional, Civil or Statutory rights
constitutes a custom or usage that, although not officially authorized, reflects practices which were

so well settled that they virtually constituted official policy.

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141. That the defendants had actual and/ or constructive knowledge of each and every
one of the above-mentioned policies and customs and were deliberately indifferent as to whether
said policies and customs would change.

142. That each and every one of the above mentioned polices and customs was a direct
and proximate cause of the violations of Perry's Constitutional, Civil and Statutory Rights, which

eventually led to his death.

143. That the above mentioned policies and customs, as well as the acts and omissions of
the defendants were a direct and proximate cause of the injuries, damages, and eventual death of
Perry.

COUNT FOUR - NEGLIGENCE

144. Realleges and incorporates herein by reference the allegations of the preceding
paragraphs

145. That the defendants, were negligent at all times material hereto in that they, among
other things, failed to provide Perry assistance, medical or otherwise, despite his serious-acute-obvious
medical emergency, failed to appropriately train MPD and M(BD employees to deal with individuals
with acute-serious-obvious medical emergencies and were otherwise negligent

146. 'Ihat the negligence of the defendants was a direct and proximate cause of the injuries,
damages, and eventual death of Perry.

COUNT FIVE - WRONGFUL DEATH WIS. STAT. §§895.03

147. Realleges and incorporates herein by reference the allegations of the preceding
paragraphs

148. That Perry’s death was caused by defendants' wrongful acts, negligence and/ or

improper conduct.

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149. That if Perry’s death had not ensued he would have been able to bring a claim
against the above named defendants for violations of Title 42 of the United States Code, Sections
1983 and 1985 for violations of his rights under the Eighth and Fourteenth Amendment to the U.S.
Constitution and his rights under Article I, Sections Six of the Wrsconsin Constitution; and

Wisconsin Common Law.

VII. DAMAGES

150. Realleges and incorporates herein by reference the allegations of the preceding

paragraphs
151. That as a direct result of the unlawful acts of the defendants, Perry unnecessarily

suffered loss of future enjoyment of life, loss of companionship with his family, and death; therefore
his estate is entitled to monetary damages in an amount to be determined just bythe Court.

152. That as a direct result of the unlawful acts of the defendants,]arnes Franklin Perry]r.
(a minor) lost the support and society and companionship of his father; therefore, he is entitled to

monetary damages in an amount to be determined just by the Court.
VIII. CONDITIONS PRECEDENT
153. Realleges and incorporates herein by reference the allegations of the preceding
paragraphs
154. All conditions precedent to this lawsuit have been performed or have otherwise

occurred.

lX. PRAYER FOR RELIEF
155. WHEREFORE, the plaintiffs demand judgment awarding compensatory damages in
an amount determined by the ]ury, awarding punitive damages in an amount determined by the ]ury,
awarding the reasonable costs and expenses of this action including a reasonable attorneys fee and

their out-of-pocket expenses and granting the plaintiffs such other and further relief as maybe just.

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§ 156. That Milwaukee Countyand the City of leaulcee are liable pursuant to Wis. Stat.
§895.46 for payment of any judgment entered against the defendants in this action because said
defendants were acting within the scope of their employment when they committed the above-
rnentioned actions
X. DEMAN`D FOR ]`URY TRIAL
157. The plaintiffs demand trial by jury.
Dated at Pewaulcee, Wscousin this 8“‘ clay of]rnre, 2012.

GENDE LAW OFFlCB, s.c.
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